Case 2:05-cv-02480-.]DT-STA Document 13 Filed 08/22/05 Page 1 of 4 Page|D 30
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IN THE UNITED STATES DISTRICT CO \\.Q
FOR THE wESTERN DISTRICT OF TENNEES[§€UG?? C`
EASTERN DIvISION 7 1’1 5;00

   

 

`;-¢

DWIGHT B. WALKER, personal
representation of the Estate of
WILLIE MAE WALKER,

Plaintiff,

vs. No. l:O4~CV-01342-T/TA
GREYHOUND BUS LINES, TRANS USA
CORPORATION, ROXANN ELLENS,
THERESA BROWN, DIANA GONZALEZ,
` DEBORAH TAYLOR, WARREENA
HENDERSON, RAYMOND WELLS,
and/Or CONNIE VANDVINE,

Defendants.

 

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ANNA M. HILL, Individually and as )
Personal Representative of the )
Estate Of CHARLOTTE THOMPSON, )
Decea$ed, JAMES THOMPSON, JULIA T. )
HARMON, CLAUDIA THOMPSON, SHIRLEY )
THOMPSON, CHARLENE THOMPSON, PAMELA )
THOMPSON, LYDELL THOMPSON, LORINE )
AUSTIN, FRANCES DAVIDSON, LARRY )
THOMPSON, CLIFTON THOMPSON, PAULINE ) Case NO. 1-05-1163 T/AN
THOMPSON and ROBERT C. PURVIS, )
) JUDGE TODD / ANDERSON
Plaintiffs, )
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vs.
GREYHOUND LINES, INC., a Delaware
corporation, ARC INTERNATIONAL

CORPORATION dba TRANS USA CORPORATION
and ALEX YU CHANG,

Defendants.

 

TERESA SMITH,
Plaintiff,
vs. NO. 05-1079-T/AN

GREYHOUND LINES, INC., a
Delaware Corporation,

Defendants.

 

Thls document entered on the docket sheet in c mptlanco
with Rule 58 and;or_'rQ (a) FHCP on _QLQ;;D&_ ` ) 3

Case 2:05-cv-02480-.]DT-STA Document 13

DOROTHY A. STEELE,
Plaintiff,
vs.

ESTATE OF THOMAS DICKERSON, II,
As Employee/Agent Greyhound
Lines, Inc., and GREYHOUND
LINES, INC., and ALEX YU CHANG,
as Employee/Agent of COASTAL
GROUP CORPORATION and TRANS
USA CORPORATION,

Defendants.

Filed 08/22/05 Page 2 of 4 Page|D 31

NO. C-Ol*05-2480 T/An

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ORDER ON JOINT MOTION TO CONSOLIDATE
CASES FOR ALL PURPOSES OF PRETRIAL PROCEEDINGS

Upon the Joint and unopposed Motion of the parties, and for good

cause shown, it is hereby Ordered that all pretrial proceedings in

these cases shall be consolidated, with the details and scheduling of

these pretrial proceedings to be determined by a Joint Scheduling

Order to be entered at the Case Management Conference.

so oaDERED this ¢Qz"i day of August, 2005.

E`: \GREYHOUND\CONSOLI DAT ION ORDER

éljgwm @/, UJ/?v-r_

JUDGE

 

s DISTRICT oURT - W

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:05-CV-02480 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

ESSEE

 

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Honorable .1 ames Todd
US DISTRICT COURT

